Case 1:04-cv-01099-.]DT-STA Document 5 Filed 06/23/05 Page 1 of 2 Page|D 1

UNITED STATES DISTRICT C()URT 11
FOR THE WESTERN DISTRICT OF TENNESSEE

 

JACKSON DIVISION
UNITED STATES OF AMERICA, * /‘./_ ;'/HC[`C)?` /`\1,"1
Ol~l co\ \DQCI ill-zim 1" i -1,-

P]aintiff-Respondent, * Crim. No. OO- CR 10010~/-‘1}41,}:\-m
V_ >l<
MONCEDRUS ROBERTSON, *

Defendant-Petitioner. *

ORDER

 

COUNSEL, has moved the Court for the entry of an order PRO HAC VICE. The Court

finds that the motion is due to be ?}M , and it is hereby ORDERED that Counsel be

given Speeial Admission.

,.;¢/
Dated on this 2 2 day of %;f& , 2005.

QQ//M b - QWM
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Thls document entered on the docket sheet ln compliance
with Rule 55 end!or 32 (b) FFICrP on

DISTRICT C URT WESTENR D"ISRICT oF TNNESSEE

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This notice confirms a copy ofthe document docketed as number 5 in
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Robert A. Ratliff

SH[ELDS RATLIFF GREEN & KERN, PC
P.O. Box 2353

Mobile, AL 36652

Moncedrus Robertson
FCI-EDGEFIELD

1 7 1 66-076

P.O. Box 725
Edgefield, SC 29824

Honorable J ames Todd
US DISTRICT COURT

